Case 1:01-cr-10031-.]DB Document 411 Filed 08/31/05 Page 1 01€_;,"___§13@%€§|%£15
LJ}

 

 

 

 

 

¢"‘a.\CJ.)\ 24 A“tl'l`l'lORIZATION AND VOUCH`ER FOR PAVMEN'[` OF TRANSCR_IPT` tfRev 5199) KU)W
1. CIR.¢'DTST.¢’ D[V, CODE 2. PERSON REPR_ESET\TED VOUCHER NUTv‘lBER i
Sharn Milan
3. NLAG. DKT.."DEF` NUMBER 4 D]ST DKT.!DEF. NUMBF_R 5 A_PPEALS DKT I`DEF. NUMBER 6. OTHER DKT, NUMBER
01-'|003‘1 05-6209
'1'. TN CASE‘MATTER OF ('(`ase Na»nc) 81 PAYM}ENT CA'I`EGORY 9 TY`PE PERSON REPR_ESENTED 101 REPRESENTATION TYPE
I Felony [] Petty Oftense E] Adult Dcfendant ij Appcllant (.See !nsrrucr.'r)m)
USA V. Sharn N11|an j Misdet'neanor 111 Other E] Juvenile Defendant ij Appellee
fl Appea] [:] Other

 

 

 

 

1 !_ OFFENSE(S) CHARGED (Cite U.S Code, Titlc & Section) ifrrmn: rfiarr one n/_’,'E»:»n.te, 1111 (up m /iva) major offenses charged according 10 reverin of ojen.rc.
21 USC 346

 

 

R'EQTJES A`ND AUTHGRTZATION*F(IR TI?§AN§("RYI“*T

12. PRGCEEDlNG IN \yHiCH TRANSCRJPT rs TO rsr. USED rome-1111 brie;tyi
direct appeal as of right

 

 

 

 

13. PROCEEDING TO BF.` TRANSCRIBED (Da.rcr.'ba spec."fi`cui'.'_yj. NUT!;`: T`fte rrra! tr‘nmcrrprs me nor to include prosecution opemng statement defense opening swzem
prosecution argument defense argument pmsec‘mmn rebuttal voir dire or mry ins'!)rlcfr`ons, tirriess spect/icaf¢'y authorized by the Camr (_ree heart 1452

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sentencing ? . _
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|4. SPECLAL AUTHORIZATIONS

 

 

 

 

 

 

 

 

 

A. Ap;mrtinncd % of transcript with r’Give case name and dekndam) `;_____ 9 ‘ j
_- vn__, f `_
. . . . . <. `) , ' £/
B. |:1 Expcdited [1 Dain 111 Hourly Transcrtpt ij Rcalttme Uncdltcd Transcnpt §Q§:
C 111 Prcsecution Opening Statement E Pi'osecutit)n Argument ij Prosecuticn Rebuttal §§ 133 ..
[1 Defense Opening Statcmcnt ij Defense Argument '_- Voir Dire E Ju:v ]nstructions 33 a'l '.D
D. In this multi- defendant case, ct)mmerciai duplication 01" transcripts w1`11 impede the delivery of accelerated transcript services to "'_ !")
persons proceeding under the Crimina| lustice Act
15, A']`TORNEY` S STATEM`ENT 16 COURT ORI)ER
As the attorney f`o1 the person repre._rente 1 101 managed above thereby affirm thatthe F1nanciai eligibillty of the person represented having been established to the Ct)un`s

transcript requ ted is necessm _ 1 r representation 1 therefore request satisfaction thc authorization requested in Item 15 ishereby granted

\_//' 8124/05

Signatttt ot`Attcmey Date
Ro ert Broo|<s

    

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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173 Panei Attorney N§:ta1izW' ij Pro-Se :l Legel Organization
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21. CLAIMANT’S CER']`IFICATION OF SERVICE PROV]'DED

l hereby cemfy that the above claim` is for services rendered and is correct and that 1 have not sought or received payment reonrpe)z.tarion or arwrhing ofminej from any other
source for these services

Signatute of

 

 

   
     

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22 CERTIF[CAT{ON OF A‘["|`ORNEY OR C].ERK 1 hereby certify that the services were rendered and that the transcript Was received

 

Signature of Attorney ot Clerk D_ate
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23. APPRGVED FOR PAYMENF 24, AMOUNT APPROVED

 
 

 

 

 

Signaturc of Judiciat Off`rcer or Clerk of Court Date

 

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Honorable J ames Todd
US DISTRICT COURT

